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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     ROBERT ALLEN BOHANNA
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7

8                   IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,     )         2:07-CR-0201 FCD
                                   )
12                  Plaintiff,     )         STIPULATION AND ORDER CONTINUING
                                   )         STATUS CONFERENCE/CHANGE OF PLEA
13        v.                       )
                                   )
14   ROBERT ALLEN BOHANNA and      )         DATE: June 23, 2008
     NORMAN GRESHAM III,           )         Time: 10:00 a.m.
15                                 )         Judge: Frank C. Damrell Jr.
                    Defendants.    )
16   ______________________________)
17        Defendant ROBERT ALLEN BOHANNA, by and through his counsel,
18   DENNIS S. WAKS, Supervising Assistant Federal Defender and the
19   United States Government, by and through its counsel, WILLIAM S.
20   WONG, Assistant United States Attorney, hereby stipulate that the
21   status conference/change of plea hearing set for May 5, 2008 be
22   rescheduled for a status conference/change of plea hearing on
23   June 23, 2008 at 10:00 a.m.
24        This continuance is being requested because defense counsel
25   requires additional time to negotiate plea agreement, to continue
26   to review discovery, discuss the case with the government, pursue
27   investigation, and negotiate a proposed disposition.
28        The parties submit that the ends of justice are served by

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1    the Court excluding such time through June 23, 2008, so that they
2    may have reasonable time necessary for effective preparation,
3    taking into account the exercise of due diligence.         18 U.S.C. §
4    3161(h)(8)(B)(iv) (Local T4).
5    Dated: April 29, 2008                   Respectfully Submitted,
6                                            McGREGOR W. SCOTT
                                             United States Attorney
7

8                                             /s/ Dennis S. Waks for
                                             WILLIAM S. WONG
9                                            Assistant U.S. Attorney
10

11   Dated: April 29, 2008                   /s/ Dennis S. Waks
                                             DENNIS S. WAKS
12                                           Supervising Assistant
                                             Federal Defender
13                                           Attorney for Defendant
                                             ROBERT ALLEN BOHANNA
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          IT IS SO ORDERED.
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     Dated: April 30, 2008
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18                                           FRANK C. DAMRELL, JR.
                                             United States District Judge
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